                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                 No. 5:17-CR-134-BR




  UNITED STATES OF AMERICA

       v.                                                              ORDER

  XAVIER MILTON EARQUHART




        This order memorializes and expounds upon the court’s rulings made in open court today.

        Defendant’s pro se motions for the appointment of a new counsel and defense counsel’s

motion to withdraw are DENIED. The court does not disturb this ruling because, after the

hearing today, a representative with Jurislink, the videoconference technology defendant has

used to communicate with defense counsel on occasion, confirmed that the communications

between defendant and defense counsel were not recorded or monitored.

        During the hearing, the court directed the court reporter to provide a copy of the

transcript of defendant’s initial sentencing hearing to the court, defense counsel, and government

counsel. Because this transcript has been filed, (see DE # 176), and is accessible to the court and

all counsel via cm/ecf, the court reporter need not provide any parties with a copy of the

transcript.

        During the hearing, defendant expressed a desire to proceed pro se at his resentencing

hearing, currently set for 21 September 2020. The court directed defendant to file a written

motion requesting that he be allowed to proceed pro se at that hearing.




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       The Clerk is DIRECTED to serve a copy of this order on defendant and the court

reporter.

       This 24 August 2020.




                                   __________________________________

                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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